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              M             t,
   . INJtlE:o!JNIIED·S. TES DISTRICT COURT FOR THE EASTERN DISTRICT OF
   - . ..                       PENNSYLVANIA

DELORES COLEMAN,                                  )   CIVIL DIVISION
                                                  )
                Plaintiff                         )   No.
    v.                                            )
                                                  )
PROGRESSIVE ADV AN CED
INSURANCE COMPANY,
                                                  )
                                                  )
                                                  )
                                                               18                    ~~FILED          ".'I
                                                                                                        l


                Defendant                         )

                                    NOTICE OF REMOVAL

         NOW, comes the Defendant, Progressive Advanced Insurance Company

by and through its attorneys, Burns White LLC, and files this Notice of Removal pursuant to 28

U.S.C. § 1441, et seq. Progressive submits that the United States District Court for the Eastern

District of Pennsylvania has original diversity jurisdiction over this civil action and this matter

may be removed to the District Court in accordance with the procedures provided at 28 U.S.C. §

1446. In further support of this Notice of Removal, Progressive states as follows:

         1.     Plaintiff Delores Coleman initiated this action by filing a Complaint in the Court

of Common Pleas of Philadelphia County on January 9, 2018. A true and correct copy of the

Complaint is attached as Exhibit "A."

         2.     Upon information and belief, the document attached as Exhibit "A" constitutes all

of the pleadings, process, and orders which were filed in connection with the state court action.

         3.     Plaintiff Delores Coleman is an adult individual residing in Upper Darby,

Pennsylvania.

         4.     Both at the time Plaintiff initiated this action and at the time of this Removal,

Plaintiff was and is a citizen of Pennsylvania.
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        5.         Progressive Advanced Insurance Company is not incorporated in Pennsylvania,

nor does Progressive Advanced Insurance Company have its principal place of business in

Pennsylvania.

       6.       Rather, Progressive Advanced Insurance Company is an Ohio corporation with its

principal place of business in Ohio with an address of 6300 Wilson Mills Road, Mayfield

Village, Ohio 44143.

        7.         Both at the time Plaintiff initiated this action and at the time of this Removal,

Progressive Advanced Insurance Company was and is a citizen of Ohio.

        8.         Plaintiff alleges that she is entitled to underinsured motorist benefits pursuant to

an automobile insurance policy that provides $50,000 in underinsured motorist benefits

coverage, subject to all of the terms and conditions of the policy.

        9.         Plaintiff also alleges that Progressive violated Pennsylvania's bad faith statute, 42

Pa. C.S.A. § 8371 and seeks punitive damages, interest on the underinsured motorist claim, and

attorney's fees.

        10.        Punitive damages are properly considered in determining the amount in

controversy for the purpose of determining whether the jurisdictional amount has been satisfied.

See Packard v. Provident Nat'l Bank, 994 F.2d 1039, 1046 (3d Cir. 1993).

        11.        Eastern District courts have held that removal is proper where punitive damages

based upon a multiplier of up to four times the alleged compensatory damages are sufficient to

meet the amount in controversy. See Hatchigan v. State Farm Ins. Co., 2013 WL 3479436 (E.D.

Pa. July 11, 2013); Harvey v. United States Life Ins. Co., 2008 WL 2805608 (E.D. Pa. 2008).
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        12.    As Plaintiff alleges that she is entitled to $50,000 in underinsured motorist

benefits, as well as punitive damages, interest, and attorney's fees, the amount in controversy

exceeds the jurisdictional requirement of $75,000.

        13.    Because Plaintiff and Progressive are citizens of different states, and because the

amount in controversy exceeds $75,000, the United States District Court for the Eastern District

of Pennsylvania has original jurisdiction over this matter. See 28 U.S.C. § 1332.

        14.    Section 1332 confers original jurisdiction over all civil matters where the amount

in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between citizens of different states.

        15.    Progressive submits that this matter may be removed to the United States District

Court for the Eastern District of Pennsylvania pursuant to 28 U.S.C. § 1441, which permits

removal of any civil action to the district courts that have original jurisdiction.

        WHEREFORE, Defendant, Progressive Advanced Insurance Company, removes this

civil action to the United States District Court for the Eastern District of Pennsylvania, pursuant

to 28 U.S.C. § 1441.

                                                       Respectfully submitted,

                                                       BURNS WHITE LLC


                                                  By:'J)~~
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                                                       Attorneys for Defendant
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                EXHIBIT ''A''
                 Case 2:18-cv-00549-CMR Document 1 Filed 02/08/18 Page 5 of 18


WILSON AND JOHNSON
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I.D. NO. 25787
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DELORES COLEMAN                                                                  Court of Common Pleas
27 North State Road                                                              Philadelphia County
Upper Darby, PA 19082                                                            CIVIL ACTION NO:

            v.
PROGRESSIVE ADVANCED INSURANCE
COMPANY
300 WILSON MILLS ROAD
MAYFIELD VILLAGE, OH 44143



                                                                COMPLAINT
                                                      NOTICE TO DEFEND
You have been sued In court If you wish to defend                     Le han demandado a usted en is corte. SI usted quiere
against the claims set forth in the following pages. You              fendarse de estas demandas expaestas en las paglnas
must take action within twenty (20) days after this complaint         siguientes, usted tiene veinte (20) dias de plazao al partir
and notice are served, by entering a written appearance               de la fecha de is demanda y la notificacion. Hace falls
personally or by attorney and filing in writing with the              asentar una comparencia escrila n persona a con un
court your defenses or objections to the claims set forth             abogado y entregar a la cortn forma escrita sus defensas
against you. You are warned that if you fail to do so the             o sus objectiones a las demandas en contra de su persona.
case may proceed without you and a judgment may be                    Sea avisado que si usted no se defiende, la corte tomara
entered against you by the court without further notice               medidas y puede continuar la demanda en contra suya sin
for any money claimed in the complaint or for any other               previo aviso a notificacion. Ademas, la corte puede decldir
claim or relief requested by the plaintiff. You may lose              a favor del demandante y requiere que usted cumpla con
money or property or other rights important to you.                   todas las provisiones de esta demanda. Usted puede
                                                                      perder dinero o sus propiedades us oltros derechos
                                                                      lmportantes para usted.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER                             USTED DEBE LLEVAR ESTE DOCUMENTO A SU ABOGADO,
AT ONCE. IF YOU DO NOT HAVE A LAWYER [OR CAN-                         INMEDIATAMENTE. SI USTED NO TIEN ABOGADO (0 NO TIENE
NOT AFFORD ONE], GO TO OR TELEPHONE THE OFFICE                        DINERO SUFICIENTE PARA PAGAR A UN ABOGADO). VAYA EN
SET FORTH BELOW [TO FIND OUT WHERE YOU CAN                             PERSONA 0 LLAME POR TELEFONO LA OFICINA NOMBRADA
GET LEGAL HELP]. THIS OFFICE CAN PROVIDE YOU WITH                     ABAJO PARAAVERIGUAR DONDE SE PUEDE CONSEGUIR
INFORMATION ABOUT HIRING A LAWYER. IF YOU CAN NOT                     ASSISTENCIA LEGAL. ESTA OFICINA PUEDE INFORMACION
AFFORD TO HIRE A LAWYER. THIS OFFICE MAY BE ABLE                      PROPORCIONARLE LA INFORMACION SOBRE CONTRATAR
TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES                        A UN ABOGADO.
THAT MAY OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A
REDUCED FEE OR NO FEE.
                                                                      SI USTED NO TIENE DIN ERO SUFICIENTE PARA PAGAR A UN
                                                                      ABOGADO ESTA OFICINA PUEDE PROPORCIONARLE
                                                                      INFORMACION SOBRE AGENCIAS QUE OFRECEN SERVICIOS
LEGALES A PERSONAS QUE CUMPLEN LOS REQUIS/TOS PARA
                                                                      UN HONORARIO REDUCIDO 0 NINGUN HONORARIO.

                                                                      ASISTENCIA LEGAL.




                                                                                                                                 Case ID: 180101265
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PHILADELPHIA BAR ASSOCIATION                ASOCIACION DE LICENCIAOOS DE FILADELFIA
LAWYER REFERRAL AND INFORMATION SERVICE     SERVICIO DE REFERENCIAL LEGAL

ONE READING CENTER                          One Reading Center
PHILADELPHIA, PENNSYLVANIA 19107            Filadelphia , Pennsylvania 19107
(215) 238-1701                              (215) 238-1701




                                                                                      Case JD: 180101265
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DELORES COLEMAN                                              Court of Common Pleas
27 North State Road                                          Philadelphia County
Upper Darby, PA 19082                                        CIVIL ACTION NO:

       v.
PROGRESSIVE ADV AN CED INSURANCE
COMPANY
300 WILSON MILLS ROAD
MAYFIELD VILLAGE, OH 44143


                                          COMPLAINT



       1.       Plaintiff, DELORES COLEMAN, is an adult individual residing at the above

address.

       2.       Defendant, PROGRESSIVE ADV ANCED INSURANCE COMPANY
(hereinafter PROGRESSIVE) is an insurance company with its principal place of business and
with offices in Pennsylvania.


       3.       Defendant transacts significant business in Philadelphia and has offices in
Philadelphia.


       4. When used herein, unless otherwise set forth, the term Plaintiff shall include all
Plaintiffs and the term Defendant shall include all Defendants. The term Defendant shall include
all and any agents, servants, employees or workers of the Defendant.



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        5. Plaintiff reserves the right to amend the complaint to reflect the correct legal identity
and/or address of any parties referred to herein.


        6. All material facts and occurrences took place on May 5, 2017 at or near 42°d and
Girard Avenue, Philadelphia, Pennsylvania.


        7. On or about May 5, 2017, at or near the above described location, Plaintiff,
DELORES COLEMAN, was a passenger in a motor vehicle owned and operated by ROMA YNE
GREEN, which was involved in a violent and sudden collision with a motor vehicle owned and
operated by tortfeasor SUDHARSHAN KRISHNAN, with the result that the Plaintiff suffered at
least the severe and serious injuries hereinafter set forth.


        8. Tortfeasor Sudharshan Krishnan resides in Philadelphia and his motor vehicle is
registered in Philadelphia.

        9. The accident which is the subject of this lawsuit occurred in Philadelphia.

        10.     The impact between the two vehicles injured and damaged Plaintiff.


        11.     Tortfeasors were negligent.


        12.     The negligence of tortfeasors included:


               A.       Operating their vehicle at a high and dangerous speed under the
                        circumstances;


               B.      Failing to have their vehicle under proper control;


               C.      In driving into another vehicle;


               D.      In that the tortfeasors were inattentive and failed to maintain a sharp
                       lookout of the road and the surrounding traffic conditions;


               E.      In being inattentive and colliding with another motor vehicle;




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   F.    In failing to properly inspect vehicle for any mechanical defects;


   G.    In violating the various statutes and municipal ordinances pertaining to the
         operation to the operation of motor vehicles on public thoroughfares under
         the circumstances;


   H.    In driving and or operating the vehicle in a negligent and/or careless
         manner under the circumstances;


   I.    In proceeding in the direction of another vehicle when tortfeasors knew or
         in the exercise of reasonable care should have known that doing so would
         result in a collision with another vehicle and would foreseeably result in
         the severe and serious injuries incurred by the Plaintiff;


   J.    In failing to maintain proper lookout for the presence of other motor
         vehicles on the road;


   K.    In operating a vehicle in a manner not consistent with the traffic and/or
         road and weather conditions prevailing at the time;


   L.    In not yielding the right of way;


   M.    In failing to obey a red or yellow traffic light and or stop sign;

   N.    In violating 75 Pa.C.S. Section 3361 - Driving Vehicle at safe speed;

   0.    In violating 75 Pa.C.S. Section 3714 - Careless Driving;

   P.   In violating 75 Pa.C.S..§ 3323 - Stop signs and yield sign;

   Q.   In violating 75 Pa.C.S. § 3310-Following too closely;


   R.   In failing to properly maintain and/or repair the tortfeasor vehicle;


   S.   In negligently entrusting a motor vehicle;




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                T.    In negligently hiring, training, screening, evaluating, monitoring and
                       supervising the tortfeasor Driver;


               U.     In failing to maintain an assured clear distance between their vehicles;


       13.     The accident was factually caused by the joint and/or several negligence of
tortfeasors and in no way was caused by the Plaintiff.


       14.     The negligence oftortfeasors was and is a factual cause of and or the sole and
proximate cause of at least the following damages, injuries and or losses of Plaintiff DELORES
COLEMAN:



       A.      Serious injuries, dysfunctions, impairments, serious impairments
               of body or bodily functions, pain and trauma to various parts of the body and psyche,
               trauma, restrictions on range of motion and function, pain and suffering and or other
               injuries- These include permanent and serious injuries and serious impairments of the
               body and or a bodily function and or permanent loss of a bodily function that allow
               recovery for non-economic damages against governmental defendants including SEPTA

       B.      Past Medical Expenses

       C.      Future Medical Expenses

       D.      Past Lost Earnings and Lost Earnings Capacity

       E.      Future Loss of Earnings and Lost Earning Capacity

       F.      Past Pain and Suffering

       G.      Future Pain and Suffering

       H.      Past Embarrassment and Humiliation

       I.      Future Embarrassment and Humiliation

       J.      Past Loss of Ability to Enjoy the Pleasures of Life

       K.      Future Loss of Ability to Enjoy the Pleasures of Life




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         L.       Disfigurement

         M.       Emotional Distress

        N.        Property Damage

        0.        Incidental Costs.


     15.    Tortfeasor Sudharshan Krishnan and the vehicle he was operating was insured with
GEICO Insurance with a policy limit of $25,0000.

       16.       The   3rd   party claim against tortfeasor has settled for the meager policy limit of
$25,000.00.

         17.     Defendant consented to this settlement.

         18.     At all times material hereto, the defendant, PROGRESSIVE, acted individually
and/or through its respective agents, servants, and/or employees who were then and there acting
within the course and scope of their employment and/or agency for the Defendant.


         19.     At all times material hereto, the Defendant, PROGRESSIVE, insured the motor
vehicle which was occupied by Plaintiff. Defendant PROGRESSIVE possesses the declaration
page and the insurance policy.


        20.      At all times material hereto, premiums requested by the Defendant,
PROGRESSIVE, as payment for the aforesaid policy of insurance had been paid in full and the
aforesaid policy was in full force and effect on the date of the accident.


        21.      The insurance policy referred to above provided, inter alia, specific coverage for
personal injury sustained by an occupant of the motor vehicle as a result of the negligence of an
underinsured motorist. The limit of liability under the underinsured motorist coverage portion of
the policy is set forth in the documents possessed by PROGRESSIVE.


        23.      The accident of and the negligence of the tortfeasors and their agents, servants and
or workmen has been described in detail in this complaint as have the injuries sustained by
Plaintiff.



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          24.   At the time of the collision, the tortfeasors had a liability insurance policy. The
policy limits were limited and due to the serious injuries sustained by Plaintiff, Plaintiff avers
that the policy limits were insufficient.


          25.   Tortfeasors were underinsured motorists and their motor vehicle was an
underinsured motor vehicle.


          26.   Plaintiff qualifies for underinsured motorist benefits under the insurance policy
provided by PROGRESSIVE. Plaintiff does not own a motor vehicle nor does she have motor
vehicle insurance.


          27.   Plaintiffs damages and injuries exceed the policy of insurance applicable to
tortfeasors.


          28.   Plaintiff and Plaintiffs counsel have provided sufficient information and
documentation of Plaintiffs claim for underinsured motorist benefits and all other first party
claims.


          29.   To date, Defendant PROGRESSIVE has not tendered its policy for underinsured
motorist benefits to which Plaintiff is entitled and has not made any settlement offer.


          30.   Defendant, despite repeated requests has not made any written offers of
settlement.


          31.   Plaintiff requests this Court to award underinsured motorist benefits from
Defendant PROGRESSIVE to which Plaintiff is entitled.


          33.   Defendant PROGRESSIVE is liable for any verdict against tortfeasors in excess
of their third party coverage.




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          34.   Plaintiff seeks punitive damages against defendant.

          35.   As the Plaintiffs insurer, the Defendant, PROGRESSIVE, has fiduciary,
contractual and statutory duties toward the Plaintiff to negotiate their claims in good faith in
order to an-ive at a prompt, fair and equitable settlement. This duty required and requires a
tendering of the underinsured motorist policy limit to Plaintiff. Plaintiff made offers to accept
the underinsured motorist policy limit as a full settlement of all of Plaintiffs claims against
PROGRESSIVE, but defendant has not accepted this offer. Plaintiff has given Defendant every
opportunity to settle the UIM claim for their policy limit. Plaintiff has given Defendant
PROGRESSIVE sufficient information to evaluate whether their minimal policy should be
tendered. Rather than act in good faith, the Defendant has and is denying and delaying and acted
in bad faith. Plaintiffs counsel has also made the numerous phone calls set forth in these letters.


          36.   Defendant PROGRESSIVE has not acted in good faith toward its insured
DELORES COLEMAN.


          37.   Defendant PROGRESSIVE should be held liable for interest.


          38.   Plaintiff requests reasonable attorney fees to be awarded against Defendant
PROGRESSIVE.


          39.   The Plaintiff, at all relevant times, fully complied with all of the terms and
conditions of the insurance policy in effect and all conditions precedent and subsequent to the
Plaintiffs right to recover under the policy. Defendant has not been prejudiced by their insured
or insured' s counsel.


          40.   Nonetheless, the Defendant refused, without legal justification or cause, and
continues to refuse, to pay to the Plaintiff the benefits to which Plaintiff is entitled under the
policy.




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        41.     Defendant PROGRESSIVE has, by the above-described conduct, acted in bad
faith in violation of 42 PA C.S.A. §8371.


        42.     As a result of the conduct of the Defendant as described above, in violation of the
Pennsylvania Bad Faith Statute, 42 PA C.S.A. §8371, the Defendant has violated the insurance
policy's covenant of good faith and fair dealing and has committed actions of bad faith for which
PROGRESSIVE is liable for interest on the claim in an amount equal to the prime rate of interest
plus three (3) percent, court costs, attorney's fees, punitive damages, and such other
compensatory and/or consequential relief for damages allowed by law.


       43.     By failing to make all payments to which the Plaintiff is entitled under the policy
of insurance on a timely basis, PROGRESSIVE has breached its contractual obligations to the
Plaintiff under the policy.


                                          COUNT ONE
   PLAINTIFF DELORES COLEMAN V. DEFENDANT PROGRESSIVE - FOR UIM
                                            BENEFITS


       44.     Paragraphs 1 through 43 are incorporated by reference herein.


       WHEREFORE, Plaintiff brings this action against Defendant to recover damages in a
sum in excess of fifty thousand dollars ($50,000), plus interest, costs, reasonable attorney fees
and delay damages and punitive damages under Rule 23 8, Pennsylvania Rules of Civil Procedure
and treble damages are requested.


                                      COUNT TWO

      PLAINTIFF DELORES COLEMAN V. DEFENDANT PROGRESSIVE - FOR
PAYMENT OF VERDICT AGAINST TORTFEASORS THAT IS IN EXCESS OF THEIR
                  INSURANCE POLICY LIMIT WITHOUT REGARD TO
                                    THE UIM POLICY LIMIT




                                                                                             Case ID: 180101265
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        45.     Paragraphs 1 through 44 are incorporated by reference herein.


        WHEREFORE, Plaintiff brings this action against Defendant to recover damages in a
sum in excess of fifty thousand dollars ($50,000), plus interest, costs, reasonable attorney fees
and delay damages and punitive damages under Rule 238, Pennsylvania Rules of Civil Procedure
and treble damages are requested.



                                         COUNT THREE
   PLAINTIFF DELORES COLEMAN V. DEFENDANT PROGRESSIVE - FOR BAD
                                              FAITH


       46.     Paragraphs 1 through 45 are incorporated by reference herein.


WHEREFORE, Plaintiff brings this action against Defendant to recover damages in a sum in
excess of fifty thousand dollars ($50,000), plus interest, costs, reasonable attorney fees and delay
damages and punitive damages under Rule 238, Pennsylvania Rules of Civil Procedure and
treble damages are requested.




                                         COUNT FOUR
PLAINTIFF DELORES COLEMAN V. DEFENDANT PROGRESSIVE - FOR BREACH
                                            OF CONTRACT


       47.     Paragraphs 1through46 are incorporated by reference herein.


       WHEREFORE, Plaintiff brings this action against Defendant to recover damages in a
sum in excess of fifty thousand dollars ($50,000), plus interest, costs, reasonable attorney fees
and delay damages and punitive damages under Rule 238, Pennsylvania Rules of Civil Procedure
and treble damages are requested.




                                                                                            Case ID: 18010126:
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                           Respectfully submitted,

                           Isl Val Pleet Wilson


                           BY: VAL PLEET WILSON, ESQUIRE




                                                                 Case JD: 18010126:
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                    VERIFICATION


                Delores Coleman
           I,                            , hereby state:

           1.   I am a Plaintiff in this action;

           2.   I verify that the statements made in the
                foregoing are true and correct to the
                best of my knowledge, information and belief;
                and

           3.   I understand that the statements in said
                PLEADING are made subject to the penalties of
                18 Pa. C.S.§ 4904 relating to unsworn
                falsification to authorities.




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                              CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on February 7, 2018 the within NOTICE OF

REMOVAL was served via Federal Express, postage prepaid, upon the following:


                                  Val Pleet Wilson, Esq.
                                    Wilson and Johnson
                                One South Broad - 18th Floor
                                  One South Broad Street
                                  Philadelphia, PA 19107




                                               ,   ~


                                            Daniel J. Twilla
